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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )                   8:08CR242
       vs.                                    )
                                              )                     ORDER
TRINIDAD VILLA-GONZALEZ and                   )
JOSE MANUEL VILLA-GONZALEZ,                   )
                                              )
                     Defendants.              )


        This matter is before the court on the motion of Jose Manuel Villa-Gonzalez for an
extension of time in which to file pretrial motions [23]. Upon review of the file, the court
finds that a 30-day extension should be granted, as to both defendants.

       IT IS ORDERED that the motion [23] is granted, as follows:

        1. The deadline for filing pretrial motions is extended to September 15, 2008 as
to all defendants.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of
this motion, that is, the time between August 15, 2008 and September 15, 2008, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason that counsel require additional time to adequately prepare the case,
taking into consideration due diligence of counsel and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B)(iv).

       DATED August 15, 2008.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
